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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION

LAQUITA SIMMONS,                               )   Civil Action No. 5:19-cv-02678-KDW
                                               )
                       Plaintiff,              )
                                               )
        v.                                     )
                                               )
ANDREW SAUL,                                   )
Commissioner of the Social Security            )
Administration,                                )
                                               )
                       Defendant.              )


                                              ORDER

       This matter is before the court on the parties’ Stipulation for an Award of Attorney’s Fees

Pursuant to the Equal Access to Justice Act (EAJA), ECF No. 35, advising of their agreement to

stipulate to an award of $7,500.00 in attorney fees to Plaintiff. Plaintiff has also provided an

Amended Motion for EAJA Fees, ECF No. 34, in which her counsel provided itemization of the

fees sought. 1 The court finds the stipulated amount of fees to be reasonable and in accordance with

applicable law. Pursuant to the parties’ stipulation, Plaintiff’s Amended Petition for Attorney’s

Fees, ECF No. 34, is granted to the extent it comports with this Order and the parties’ Stipulation.

Further, the Amended Petition takes the place of the Petition found at ECF No. 33. ECF No. 33 is

denied as moot.

       Further, the parties have stipulated that Plaintiff should be awarded $7,500.00 in attorney

fees under the EAJA and that this amount “represents compensation for all legal services rendered

on behalf of Plaintiff by counsel in connection with this civil action, in accordance with 28 U.S.C.



1
 In Plaintiff’s Amended Petition for Fees, counsel indicated they spent 39.80 hours representing
Plaintiff before the court. ECF No. 34.
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§ 2412(d).” ECF No. 35 at 1. These attorney fees will be paid directly to Plaintiff, LaQuita

Simmons, and sent to the business address of Plaintiff’s counsel. Full or partial remittance of the

awarded attorney fees will be contingent upon a determination by the Government that Plaintiff

owes no qualifying, pre-existing debt(s) to the Government. If such a debt(s) exists,

the Government will reduce the awarded attorney fees in this Order to the extent necessary to

satisfy such debt(s).

       An award of $7,500.00 in attorney fees pursuant to the EAJA is granted in accordance with

this Order.

       IT IS SO ORDERED.


May 5, 2021                                                 Kaymani D. West
Florence, South Carolina                                    United States Magistrate Judge
